UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF NEW YORK

MESIVTHA TIFERETH JERUSALEM,
12-CV-1301 (WFK) (MDG)
Plaintiff,
STIPULATION OF DISMISSAL

- against -

SOVEREIGN BANK and STATEN ISLAND.
BANK & TRUST, .

Defendants.

IT IS HEREBY AGREED TO AND STIPULATED by and between the undersigned
attorneys of record for all parties that the above-entitled action be and the same hereby is
voluntarily dismissed with prejudice and without costs against the other.

Dated: New York, New York
June 11, 2013

CE Cp,

STANLEY re IRO, Esq.
|

athew B. West, Eso

Attorney for Plajntiff SCHNADER HARRISON
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